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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 NEW HAMPSHIRE INDONESIAN
 COMMUNITY SUPPORT, et al.,

                     Plaintiffs,                          Case No. 1:25-cv-00038-JL-TSM

                         v.

 DONALD J. TRUMP, President of the United
 States, in his official capacity, et al.,

                    Defendants.

               ATTORNEY SANGYEOB KIM AFFIDAVIT OF SERVICE
            PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 4(l)(1)

       I, SangYeob Kim, declare as follows:

       1.     I am an attorney with the American Civil Liberties Union of New Hampshire

(ACLU-NH) and co-counsel for Plaintiffs, New Hampshire Indonesian Community Support,

League of United Latin American Citizens, and Make the Road New York, in the above-

captioned matter.

       2.     I hereby affirm that in accordance with Fed. R. Civ. P. 4(i), I properly served the

named Defendants and the United States with the process by:

              a. For purposes of serving President Donald J. Trump, in his official capacity,

                    sending a copy of the Complaint and related Summons with attached ECF

                    notice by U.S.P.S. Certified Mail, Return Receipt Requested, on January 22,

                    2025, to President Donald J. Trump, in his official capacity as President of the

                    United States, The White House, 1600 Pennsylvania Avenue NW,

                    Washington, D.C. 20500, which complies with Rule 4(i)(2). A copy of the

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          Certified Mail Receipt and electronic delivery confirmation acknowledging

          acceptance on February 3, 2025 is attached herewith as Exhibit A;

       b. For purposes of serving the U.S. Department of Homeland Security, sending a

          copy of the Complaint and related Summons with attached ECF notice by

          U.S.P.S. Certified Mail, Return Receipt Requested, on January 22, 2025, to

          the U.S. Department of Homeland Security, 245 Murray Lane SW,

          Washington, D.C. 20528-0075, which complies with Rule 4(i)(2). A copy of

          the   Certified   Mail    Receipt   and    electronic   delivery   confirmation

          acknowledging acceptance on January 27, 2025 is attached herewith as

          Exhibit B;

       c. For purposes of serving the Secretary of Homeland Security, sending a copy

          of the Complaint and related Summons with attached ECF notice by U.S.P.S.

          Certified Mail, Return Receipt Requested, on January 22, 2025, to the

          Secretary of Homeland Security, the U.S. Department of Homeland Security,

          245 Murray Lane SW, Washington, D.C. 20528-0075, which complies with

          Rule 4(i)(2). A copy of the Certified Mail Receipt and electronic delivery

          confirmation acknowledging acceptance on January 27, 2025 is attached

          herewith as Exhibit C;

       d. For purposes of serving the U.S. Department of State, sending a copy of the

          Complaint and related Summons with attached ECF notice by U.S.P.S.

          Certified Mail, Return Receipt Requested, on January 22, 2025, to the U.S.

          Department of State, 600 19th Street NW, Suite 5.600, Washington, D.C.

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          20522, which complies with Rule 4(i)(2).      A copy of the Certified Mail

          Receipt and electronic delivery confirmation acknowledging acceptance on

          January 27, 2025 is attached herewith as Exhibit D;

       e. For purposes of serving the Secretary of State, sending a copy of the

          Complaint and related Summons with attached ECF notice by U.S.P.S.

          Certified Mail, Return Receipt Requested, on January 22, 2025, to the U.S.

          Department of State, 600 19th Street NW, Suite 5.600, Washington, D.C.

          20522, which complies with Rule 4(i)(2).      A copy of the Certified Mail

          Receipt and electronic delivery confirmation acknowledging acceptance is

          attached herewith as Exhibit E;

       f. For purposes of serving the U.S. Department of Agriculture, sending a copy of

          the Complaint and related Summons with attached ECF notice by U.S.P.S.

          Certified Mail, Return Receipt Requested, on January 22, 2025, to the U.S.

          Department    of Agriculture,     Room    107W,   Whitten    Building, 1400

          Independence Ave., SW., Washington, D.C. 20250-1400, which complies

          with Rule 4(i)(2).   A copy of the Certified Mail Receipt and electronic

          delivery confirmation acknowledging acceptance on January 27, 2025 is

          attached herewith as Exhibit F;

       g. For purposes of serving the Secretary of Agriculture, sending a copy of the

          Complaint and related Summons with attached ECF notice by U.S.P.S.

          Certified Mail, Return Receipt Requested, on January 22, 2025, to the U.S.

          Department    of Agriculture,     Room    107W,   Whitten    Building, 1400

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          Independence Ave., SW., Washington, D.C. 20250-1400, which complies

          with Rule 4(i)(2).    A copy of the Certified Mail Receipt and electronic

          delivery confirmation acknowledging acceptance on January 27, 2025 is

          attached herewith as Exhibit G;

       h. For purposes of serving the Centers for Medicare and Medicaid Services,

          sending a copy of the Complaint and related Summons with attached ECF

          notice by U.S.P.S. Certified Mail, Return Receipt Requested, on January 22,

          2025, to the Centers for Medicare and Medicaid Services, 330 Independence

          Ave., S.W., Room 5300, Washington, D.C. 20201, which complies with Rule

          4(i)(2).   A copy of the Certified Mail Receipt and electronic delivery

          confirmation acknowledging acceptance on January 27, 2025 is attached

          herewith as Exhibit H;

       i. For purposes of serving the Administrator of the Centers for Medicare and

          Medicaid Services, sending a copy of the Complaint and related Summons

          with attached ECF notice by U.S.P.S. Certified Mail, Return Receipt

          Requested, on January 22, 2025, to the Centers for Medicare and Medicaid

          Services, 330 Independence Ave., S.W., Room 5300, Washington, D.C.

          20201, which complies with Rule 4(i)(2).       A copy of the Certified Mail

          Receipt and electronic delivery confirmation acknowledging acceptance on

          January 27, 2025 is attached herewith as Exhibit I;

       j. For purposes of serving the United States, as required by Rule 4(i)(2), sending

          a copy of the Complaint and related Summonses with attached ECF notice by

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                 U.S.P.S. Certified Mail, Return Receipt Requested, on January 22, 2025, to

                 the U.S. Attorney’s Office for the District of New Hampshire, 53 Pleasant St.

                 4th Fl., Concord, NH 03301, which complies with Rule 4(i)(1)(ii). A copy of

                 the   Certified   Mail    Receipt    and    electronic   delivery   confirmation

                 acknowledging acceptance on January 24, 2025 is attached herewith as

                 Exhibit J;

      I hereby declare under penalties of perjury that the foregoing is true and accurate.


                                                     /s/ SangYeob Kim
                                                     SangYeob Kim (N.H. Bar. No. 266657)



Dated: February 9th, 2025




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